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                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                       AT MARTINSBURG

   JAMES CROSS,

                     Petitioner,

  v.                                                          CIVIL ACTION NO. 3:05CV85
                                                              CRIMINAL ACTION NO. 3:00CR57
                                                              (BROADWATER)

  UNITED STATES OF AMERICA,

                    Respondent.


                        ORDER ADOPTING REPORT AND RECOMMENDATION

            On this day the above styled case came before the Court for consideration of the Report and

  Recommendation of Magistrate Judge James E. Seibert, dated April 24, 2006. Petitioner’s objections to the

  Report were not filed in a timely matter; however, in the interests of justice, the Court now GRANTS the

  petitioner’s Motion for Leave to File his objections (Document 1168 in 3:00CR57) and has considered the

  objections and conducted a de novo review of the petition, Report, and objections to such. After reviewing

  the above, the Court is of the opinion that the Magistrate Judge’s Report and Recommendation (Document

  2 in 3:05CV85 and Document 1164 in 3:00CR57) should be and is hereby ORDERED adopted.

            The Court further ORDERS that the petition of the petitioner (Document 1 in 3:05CV85 and

  Document 1103 in 3:00CR57) be DENIED and DISMISSED WITH PREJUDICE based on the reasons

  set forth in the Magistrate Judge’s Report and Recommendation. It is further ORDERED that this action

  be and is hereby STRICKEN from the active docket of this Court.

            The Clerk is directed to transmit true copies of this Order to the petitioner and all counsel of record

  herein.

            DATED this 12th day of July 2006.
